Case 2:17-cv-12599-TGB-MKM ECF No. 100, PageID.5608 Filed 12/30/21 Page 1 of 7




                   UNITED STATES DISTRICT COURT
                   EASTERN DISTRICT OF MICHIGAN
                        SOUTHERN DIVISION


 SURESH PERSAD, DANIEL G.                     2:17-cv-12599-TGB-MKM
 WRIGHT, AND ROBERT S.
 DRUMMOND, individually and on              HON. TERRENCE G. BERG
 behalf of all others similarly
 situated,
                                               ORDER AWARDING
                   Plaintiffs,               ATTORNEYS’ FEES AND
                                                  EXPENSES
       v.

 FORD MOTOR COMPANY,

                   Defendant.


      THIS MATTER having come before the Court for consideration of

 Plaintiffs’ Unopposed Motion for an Award of Attorneys’ Fees,

 Reimbursement of Litigation Expenses, and Service Awards to Plaintiffs

 (“Fee Motion”).

      WHEREAS, Defendant Ford Motor Company (“Ford”) and

 Plaintiffs Suresh Persad, Daniel G. Wright, and Robert S. Drummond

 (“Plaintiffs”) reached a Class settlement (the “Settlement”);

      WHEREAS, the Parties submitted the Settlement Agreement

 together with Plaintiffs’ Unopposed Motion for Preliminary Approval of

 the proposed settlement to the Court;
Case 2:17-cv-12599-TGB-MKM ECF No. 100, PageID.5609 Filed 12/30/21 Page 2 of 7




      WHEREAS, the Court gave its preliminary approval of the

 Settlement on April 30, 2021 (the “Preliminary Approval Order”) and

 directed the Parties to provide notice to the Class of the proposed

 Settlement and the Final Approval Hearing by regular mail and via the

 internet;

      WHEREAS,          the    Court-appointed       Settlement      Claims

 Administrator, KCC Class Action Services, effectuated notice to the

 Settlement Class in accordance with the Preliminary Approval Order and

 also pursuant to the notice requirements set forth in 28 U.S.C. § 1715;

      WHEREAS, Plaintiffs submitted their Unopposed Fee Motion on

 November 1, 2021;

      WHEREAS, on December 3, 2021, the Court conducted the Final

 Approval Hearing to determine whether the proposed Settlement is fair,

 reasonable, and adequate; whether the Settlement should be granted

 final approved by this Court; and whether the Court should grant

 Plaintiffs’ unopposed Fee Motion; and

      WHEREAS, the Parties having appeared at the Final Approval

 Hearing and submitted supplemental briefing as requested by the Court;

      THEREFORE, after reviewing the pleadings and evidence filed in



                                     -2-
Case 2:17-cv-12599-TGB-MKM ECF No. 100, PageID.5610 Filed 12/30/21 Page 3 of 7




 support of Plaintiffs’ unopposed Fee Motion and hearing from the

 attorneys for the Parties,

      IT IS ON THIS 30th day of December, 2021, ORDERED and,

 ADJUDGED that the Court finds and orders as follows:

      1.     All terms herein shall have the same meaning as defined in

 the Settlement Agreement.

      2.     This Order incorporates and makes part hereof the

 Settlement Agreement.

      3.     This Court has jurisdiction over the subject matter of this

 Litigation and over the Parties to this Litigation including all Settlement

 Class Members.

      4.     Notice to the Settlement Class required by Rule 23(e) of the

 Federal Rules of Civil Procedure has been provided in accordance with

 the Court’s Preliminary Approval Order, by mailing such Notice by first-

 class mail. The Settlement Claims Administrator, KCC Class Action

 Services,     also    placed     the      Notice     on     its    website,

 http://www.explorerexhaustsettlement.net/. Thus, notice has been given

 in an adequate and sufficient manner, constitutes the best notice




                                     -3-
Case 2:17-cv-12599-TGB-MKM ECF No. 100, PageID.5611 Filed 12/30/21 Page 4 of 7




 practicable under the circumstances, and satisfies all requirements of

 Rule 23(e) and due process.

       5.    The Settlement, including the requested fees and expenses,

 was the result of arm’s-length negotiation by experienced counsel with

 an understanding of the strengths and weaknesses of their respective

 cases. In its Final Order, the Court has determined that the Settlement,

 including the requested fees and expenses, is fair, reasonable, and

 adequate, and serves the best interests of the Settlement Class, in light

 of all the relevant factors.

       6.    The Parties and Settlement Class Members have submitted

 to the exclusive jurisdiction of this Court for any suit, action, proceeding,

 or dispute arising out of this Settlement.

       7.    Class Counsel are hereby awarded attorneys’ fees in the

 amount of $3,000,000 and reimbursement of Class Counsel’s Litigation

 Expenses in the amount of $500,000, which sums the Court finds to be

 fair and reasonable. The attorneys’ fees and expenses awarded will be

 paid to Class Counsel by Ford in accordance with the terms in the

 Settlement.




                                     -4-
Case 2:17-cv-12599-TGB-MKM ECF No. 100, PageID.5612 Filed 12/30/21 Page 5 of 7




      8.    In making this award of attorneys’ fees and expenses, the

 Court has considered and found that the requested fee award is

 reasonable because:

               a. Settlement Class Members will benefit significantly

                  from the Settlement that occurred because of the efforts

                  of Class Counsel;

               b. The fee sought by Class Counsel has been reviewed and

                  approved as reasonable by Plaintiffs, who oversaw the

                  prosecution and resolution of the Action;

               c. Notice was mailed to potential Settlement Class

                  Members stating that Class Counsel would apply for

                  attorneys’ fees in an amount not to exceed $3,000,000,

                  Litigation Expenses in an amount not to exceed

                  $500,000, and service awards to Plaintiffs in an

                  aggregate amount not to exceed $30,000;

               d. Class Counsel have conducted the Litigation and

                  achieved the Settlement with diligent advocacy against

                  experienced and skilled opposing counsel;

               e. The Litigation raised a number of complex issues;



                                      -5-
Case 2:17-cv-12599-TGB-MKM ECF No. 100, PageID.5613 Filed 12/30/21 Page 6 of 7




               f. Had Class Counsel not achieved the Settlement, there

                  would remain a significant risk Plaintiffs and the other

                  members of the Settlement Class may have recovered

                  less or nothing from Defendant;

               g. Class Counsel devoted more than 7,800 hours, with a

                  lodestar value of more than $ 3.79 million, to achieve the

                  Settlement; and

               h. The amount of attorneys’ fees awarded and Litigation

                  Expenses    are   fair,   reasonable,   appropriate,   and

                  consistent with awards in similar cases.

      9.    Plaintiffs Suresh Persad, Daniel G. Wright, and Robert S.

 Drummond are hereby awarded an aggregate of $30,000.00 for their

 representation of the Settlement Class, which the Court concludes is a

 reasonable method of compensating the Class Representatives for the

 time and effort expended in assisting the prosecution of this litigation

 and the risks incurred by becoming a litigant.

      10.   Any appeal or any challenge affecting this Court’s approval

 regarding any attorneys’ fees and expense application shall in no way

 disturb or affect the finality of the Judgment.



                                     -6-
Case 2:17-cv-12599-TGB-MKM ECF No. 100, PageID.5614 Filed 12/30/21 Page 7 of 7




      11.   The Court finds that no just reason exists for delay in entering

 this Order. Accordingly, the Clerk is hereby directed to enter this Order.

       SO ORDERED.

 Dated: December 30,         s/Terrence G. Berg
 2021
                             TERRENCE G. BERG
                             UNITED STATES DISTRICT JUDGE




                                     -7-
